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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


 TODD DAVIDSON, WILBERT                  )
 WIGGINS, GEORGE DOUGLAS, JR.,           )
 CHARLES MAGEE, DARON                    )
 THOMPSON, EUGENE SMITH,                 )
 GEORGE RODGERS, and KENTON              )
 SMITH, on behalf of themselves and      )
 others similarly situated,              )
                                         )
               Plaintiffs,               )
                                         )       1:03-CV-1882-SEB-JPG
       vs.                               )
                                         )
 CITIZENS GAS & COKE UTILITY,            )
                                         )
               Defendant.                )



                             ENTRY ON PENDING MOTIONS


       For a combination of reasons for which responsibility must be borne by

 counsel as well as the Court, this litigation has generated a backlog of

 seventeen motions which must now be attacked. We have examined these

 pending motions, ruled on several and laid out in this order a plan for

 resolution of the remainder, including a schedule to bring final completion to

 this case.1




       1
       Because there are ongoing discovery issues involving a non party,
 Personnel & Family Family Research Services, Inc., and its principal, Dr.
 Roland Guay, we are providing a copy of this entry to them as well.
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 1.    Status Conference

       Defendant has moved the Court to schedule a status conference,

 complaining of Plaintiffs’ unceasing tactics aimed at prolonging discovery and

 expanding the scope of the case in total disregard of previously set deadlines.

 Defendant also complains of Plaintiffs’ recent, untimely addition of an expert

 witness. We concur in the perceived need for a status conference and have

 requested the Magistrate Judge to schedule such a session at the earliest

 practical time. Accordingly, Defendant’s Motion for Status Conference (Docket

 #217) is GRANTED, and a status conference shall occur before Magistrate

 Judge John Paul Godich on Monday, November 21, 2005 at 2:00 p.m. in

 Room #355, U.S. Courthouse, Indianapolis, Indiana. The Magistrate Judge

 shall in the usual fashion report forthwith to the undersigned judge on the

 progress made and actions taken at the status conference, along with any

 recommendations for resolving any remaining substantive disputes as

 promptly as possible.



 2.    Trial and Final Pretrial Conference Schedule

       Given the complications and protracted nature of this litigation to date,

 the current May 15, 2006 trial date appears unrealistic and that date is

 therefore rescinded. Accordingly, trial is hereby reset for July 31, 2006 at

 9:30 a.m. and a final pretrial conference scheduled for July 18, 2006 at

 3:00 p.m. in Room #216, before the undersigned judge. No changes will be

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 made with respect to this trial date absent truly exigent circumstances (i.e.,

 health, death in family, births, etc.).



 3.    Class Certification & Discovery

       Plaintiffs’ Motion for Class Certification was denied with leave to re-file

 following additional discovery. Plaintiffs seek by motion to have discovery

 reopened (Docket #249), apparently aimed at clarifying the number of

 individuals who applied for employment with the Defendant (during the

 relevant time period for purposes of the statute of limitations), the number of

 those applicants who took the competency test and the number of those who

 took the competency test but were not hired by Defendant and accepted a

 settlement as a result of the EEOC conciliation process. Plaintiffs’ (various)

 requests to amend the Complaint to add additional named Plaintiffs, which

 motions the Court has granted, will no doubt spawn a need for additional

 discovery specific to their claims. Expert discovery has been difficult and

 delayed and needs attention. Fact discovery with respect to the competency

 test and its author has also been disrupted and delayed, in part, as we

 understand it, because of certain concerns imposed by the author of the test.

 While the parties are entitled to a sufficient opportunity to develop the

 necessary discovery, the remaining tasks should be narrowly drawn and

 targeted to allow for the completion of process forthwith.




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       The docket reflects Defendant’s longstanding Motion for Summary

 Judgment as well as motions filed by both parties that seek the Court’s ruling

 as to the propriety of various submissions to the record on which a decision

 would be based. In view of the Seventh Circuit’s rulings which have made clear

 that only in unusual circumstances should summary judgment be resolved

 prior to ruling on class certification, we shall resolve the class certification

 issue before ruling on summary judgment. Chavez v. Illinois State Police, 251

 F.3d 612, 629-630 (7th Cir. 2001). Therefore, Plaintiffs’ Motion to Reopen

 Discovery (Docket #249) is GRANTED IN PART, but only through December

 30, 2005, for the purpose of obtaining information and testimony related to

 class certification and the individual claims of the recently added Plaintiffs,

 Jimothy Amos and Sidney Williams. All written discovery (requests for

 production and interrogatories directed to these issues) shall be served no

 later than November 18, 2005 and responses shall be served no later than

 December 23, 2005. Counsel should endeavor to promptly resolve, between

 themselves, any discovery disputes that arise, but if they are unable to do so,

 they should bring the disputes to the attention of the Magistrate Judge

 immediately by telephone conferencing, as opposed to written submissions, to

 allow a prompt resolution.

       Plaintiffs shall file their amended motion for class certification no later

 than January 5, 2006. Defendant’s response shall be filed no later than

 January 23, 2006; Plaintiffs’ reply, no later than January 31, 2006. Since

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 prior briefing on the class certification motion is on file, no extensions of time

 for further briefing will be granted. This process will be facilitated by

 referencing or re-designating supporting materials previously filed, avoiding

 unnecessary duplication of those submissions (the parties’ references or

 citations to such previous submissions should be consistent with the

 references on the electronic docket). Plaintiffs’ Motion for Approval of Class

 Notice (Docket #67) which was filed as a part of their earlier class certification

 motion is therefore DENIED, with leave to re-file as part of the second motion

 for certification. We expect to be able to rule on these motions promptly.

       The parties are directed to confer in an effort to reach agreement,

 consistent with the schedule in this entry, on time limits for the completion of

 expert discovery and any additional discovery relating to the competency test.

 If an agreement cannot be reached, each party shall submit a proposed

 schedule for discussion and resolution at the November 21, 2005 status

 conference before the Magistrate Judge.



 3.    Dr. Roland Guay and Personnel & Family Research Services, Inc.

       Dr. Guay and his company, Personnel & Family Research Services, Inc.

 are not parties to this litigation, but their interests effect, and to a certain

 extent have impeded the progress of discovery. They are the targets of a

 pending Motion to Compel filed by Plaintiffs (Docket #254). We are informed

 that Dr. Guay (and his company) authored and own the competency test at

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 issue in this case and have raised numerous issues regarding confidentiality

 and costs and fees associated with document production and deposition

 testimony. Unfortunately, rather than obtain legal representation or file the

 appropriate motions with the court, Dr. Guay has elected to correspond with

 the Court, specifically with Magistrate Judge Godich, sending unsolicited

 telefaxed letters seeking his assistance in resolving disputes Dr. Guay

 apparently has with Plaintiffs’ counsel’s attempt to obtain third party discovery

 as well as his deposition. This approach is inappropriate; the Court acts on the

 basis of specific motions filed in a particular case. Assuming Personnel &

 Family Research Services, Inc. is a registered corporation, entitled to all the

 benefits and protections of corporate law, it must be represented by an

 attorney and only by an attorney, in connection with any court proceedings.

 Muzikowski v. Paramount Pictures Corp., 322 F.3d 918, 924 (7th Cir. 2003).

       Since neither Dr. Guay nor his company are named parties in this

 litigation, the Court cannot compel their attendance at the November 21,

 2005 status conference. However, an order can issue to compel a third party

 to produce documents in a particular manner and/or attend a deposition, and

 non-compliance can generate an order to compel. For this reason, the Court is

 providing to Dr. Guay and his corporation a copy of this entry to encourage his

 participation in the status conference by telephone, in an effort to resolve the

 pending motion to compel filed by Plaintiff. The corporation by counsel may



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 also attend in the same manner.2 The Court will not accept any further

 unsolicited correspondence from Dr. Guay or his company. We further

 encourage Dr. Guay (or his company) to reconsider their decision not to obtain

 legal representation. At present, his status in this lawsuit is that of a fact

 witness, not an expert witness, and in that context he is entitled only to the

 fees and protections afforded fact witnesses by the Rules of Procedure. He is

 not entitled to payment of expert witness fees. Steps to protect proprietary

 information that may be disclosed in document production or deposition

 testimony in connection with this case can be secured through a protective

 order and violations of confidentiality restrictions are punishable under the

 Court’s contempt powers.



 4.    Summary Judgment

       As indicated above, Defendant’s pending motion for summary judgment

 is directed to the entirety of Plaintiffs’ complaint (Docket #122). However, the

 motion was filed prior to the addition of two named plaintiffs, who have been

 described as applicants for employment, as opposed to employees of

 Defendant. These changes likely have sufficiently altered the posture of this

 case so that Defendant’s pending summary judgment no longer adequately


       2
        If they choose to participate in the status conference on November 21,
 2005 via telephone, Dr. Guay and/or counsel for Personnel & Research
 Services, Inc. should contact the chambers of Magistrate Judge John Paul
 Godich at 317-229-3630 to make appropriate arrangements.

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 addresses all the issues as currently framed. In addition, other motions are

 pending to supplement the record. Assuming the requested supplementation

 is permitted and thereafter occurs, the posture of the case will again be

 effected. Accordingly, Defendant should determine forthwith whether and to

 what extent it may need to amend its motion for summary judgment to address

 new legal issues.

       Accordingly, Defendant shall inform the Court by November 18, 2005

 whether an amended summary judgment will be submitted. If it will, the Court

 will deny as moot Defendant’s pending motion for summary judgment as well

 as all related motions and filings (Docket #164, #175, #180, #192, #199,

 #210 and #211), with leave to re-file the amended summary judgment motion

 and related supporting materials by March 8, 2006, or within 30 days after the

 court’s ruling on class certification, whichever is later. Plaintiffs’ responses to

 the amended summary judgment motion shall be filed within 35 days and the

 reply brief, within 17 days following the filing of the response. Strict adherence

 to these deadlines will be expected (and enforced) in order to permit sufficient

 time for the Court to consider and rule on the amended summary judgment

 motion in advance of the July 31, 2006 trial date. We anticipate that these

 matters will be discussed in detail at the November 21, 2005 status

 conference with the Magistrate Judge and if recommendations are

 forthcoming, the undersigned judge will of course give deferential regard to the

 Magistrate Judge’s views.

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 5.    Additional Pending Motions

       Plaintiffs’ Motion to Consolidate (Docket #168) and Plaintiffs’ Motion for

 Leave to Designate Additional Evidence in Support of Motion to Consolidate

 (Docket #208) are hereby DENIED in view of the recent addition of the named

 Plaintiff in this case.

       Plaintiffs’ Motion to Strike Defendant’s Final Witness List (Docket #196)

 is also hereby DENIED.

       Plaintiffs’ Motion for Leave to File Second Amended Witness List and

 Amended Exhibit List (Docket #222) is hereby GRANTED.

       The pending Motion to Compel has not yet been fully briefed (Docket

 #251). A schedule for the resolution of that motion should be established at

 the November 21, 2005 status conference. If the Magistrate Judge is in a

 position to rule on the motion as well as the motion to compel discovery from

 Dr. Guay, he should do so and advise the Court in his report on the

 conference, along with all other recommendations.

       IT IS SO ORDERED.


                                            _______________________________
         11/08/2005
 Date: ___________________                  SARAH EVANS BARKER, JUDGE
                                            United States District Court
                                            Southern District of Indiana




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